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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:16CR87
                                              )
               Plaintiff,                     )
                                              )
               vs.                            )              TENTATIVE FINDINGS
                                              )
VIRGIL APODACA, JR.,                          )
                                              )
               Defendant.                     )

       The Court has received the Presentence Investigation Report (“PSR”). The parties

adopted the PSR (Filing Nos. 109 and 112). See Order on Sentencing Schedule, ¶ 6. The

Court advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are

advisory.

       Accordingly,

       IT IS ORDERED:

       1.      The Court intends to adopt the PSR at the time of sentencing;

       2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary hearing

is requested, a statement describing why an evidentiary hearing is necessary and an

estimated length of time for the hearing;
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       3.     Absent submission of the information required by paragraph 2 of this Order,

these tentative findings are final; and

       4.     Unless otherwise ordered, any motion challenging these tentative findings shall

be resolved at sentencing.

       DATED this 5th day of October, 2016.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




                                             2
